                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO, et al., §
               Plaintiffs,          §
                                    §
v.                                  §                            5:21-CV-0844-XR
                                    §                            (Consolidated Cases)
GREGORY ABBOTT, et al.              §
               Defendants.          §



                                              ORDER




        Before the Court is Defendant Travis County District Attorney José Garza’s Unopposed

Motion for Extension of Time to File a Response to Plaintiffs’ Second Amended Complaint for

Declaratory and Injunctive Relief [ECF No. 199] filed by Plaintiffs Houston Area Urban League,

Delta Sigma Theta Sorority, Inc., The Arc of Texas, Mi Familia Vota, Marla López, Marlon

López, Paul Rutledge, and Jeffrey Lamar Clemmons. After careful consideration of the Motion,

Plaintiffs’ response, if any, and the pleadings filed by the parties, the Court is of the opinion that the

Motion has merit and should be GRANTED.

        Accordingly, it is ORDERED that Defendant Travis County District Attorney José Garza

shall file a response to Plaintiffs’ Second Amended Complaint [ECF No. 199] on or before March

17, 2022.


                                        SIGNED this              day of                          , 2022.


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                                        UNITED STATES DISTRICT JUDGE
